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                   Exhibit 5
      Declaration of Adria Jawort
            (July 17, 2023)
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---------- Forwarded message ---------
From: Shari Curtis Butte -Silver Bow Public Library <programming.bsbpl@gmail.com>
Date: Thu, Jun 1, 2023, 11:22 AM
Subject: Re: First Fridays: Adria Jawort
To: Jessica Ryder <thegravelroadmt@gmail.com>, Julie Bushmaker <juliebushmaker@gmail.com>, graham
<je2gragham@gmail.com>, Alan Kesselheim <alandmp@aol.com>, <willoughbysa@gmail.com>, Karen Myers
<mysully2@yahoo.com>, Luanne Harbert <luanne.harbert@gmail.com>, Melody Rice <arttherapyinmt@q.com>, Marian Jensen
<cyberisak@gmail.com>, CLAUDE H ORVIS <claudeorvis2@msn.com>, Mccrea, Donna <Donna.Mccrea@mso.umt.edu>, Marlene
Holayter <holayter@aol.com>, Andrew Zemljak <zemmie46@hotmail.com>, Joe McCarthy <joe_mccarthy@bresnan.net>, Dianna
Porter <porterdianna@hotmail.com>, Bishop, Debbie <dbishop14@bresnsn.net>, Gene Davenport <gene_d55@hotmail.com>, Rich
Day <richday@bresnan.net>, David Braaten <david.braaten@smsu.edu>, Margaret Winninghoff <mprwinninghoff@icloud.com>,
Kristi O'Leary <kindlycatwoman@gmail.com>, Henrietta Shirk <henrietta.shirk@gmail.com>, Adrian Jawort
<adrianjawort@gmail.com>


It is with much regret that I must inform you that we have to cancel tomorrow's talk. JP Gallagher, Chief Executive, and Eileen Joyce,
County Attorney, have decided it is too much of a risk to have a trans-person in the library.

Please let me know if I can answer any questions

Shari


Shari Curtis
Adult Services Librarian & Carle Gallery Manager
Butte-Silver Bow Public Library
programming.bsbpl@gmail.com
(406) 723-3361 x 6302


On Fri, May 26, 2023 at 8:00AM Shari Curtis Butte -Silver Bow Public Library <programming.bsbpl@gmail.com> wrote:
 Below is the link for First Fridays this week. I will be in the library with the speaker, but if you'd like to join us virtually.

  Butte-Silver Bow Public Library is inviting you to a scheduled Zoom meeting.

  Topic: First Fridays: Adria Jawort
  Time: Jun 2, 2023 11:00 AM Mountain Time (US and Canada)

  Join Zoom Meeting
  https://us02web.zoom.us/j/81366311486?pwd=b3RWYnpSaGM3SVRybWJZUFdmOVZZZz09

  Meeting ID: 813 6631 1486
  Passcode: 093763
  One tap mobile
  +16699009128,,81366311486#,,,,*093763# US (San Jose)
  +17193594580,,81366311486#,,,,*093763# US

  Dial by your location
      +1 669 900 9128 US (San Jose)
      +1 719 359 4580 US
      +1 253 205 0468 US
      +1 253 215 8782 US (Tacoma)
      +1 346 248 7799 US (Houston)
      +1 669 444 9171 US
      +1 309 205 3325 US
      +1 312 626 6799 US (Chicago)
      +1 360 209 5623 US
      +1 386 347 5053 US
      +1 507 473 4847 US
      +1 564 217 2000 US
      +1 646 558 8656 US (New York)
      +1 646 931 3860 US
      +1 689 278 1000 US
      +1 301 715 8592 US (Washington DC)
      +1 305 224 1968 US
  Meeting ID: 813 6631 1486
  Passcode: 093763
  Find your local number: https://us02web.zoom.us/u/kcrF7EZP2K

  Shari Curtis
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Shari Curtis
Adult Services Librarian & Carle Gallery Manager
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                    Exhibit B
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